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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                            LAKE CHARLES DIVISION


HEATHER INC ET AL                                  CIVIL ACTION NO. 2:21-CV-02914

VERSUS                                             JUDGE JAMES D. CAIN, JR.

AMERICAN FIRE & CASUALTY CO                        MAGISTRATE JUDGE KAY


                         60 DAY JUDGMENT OF DISMISSAL

       Upon notice that the above captioned suit has settled,

       IT IS ORDERED, ADJUDGED AND DECREED that this action is hereby

dismissed without prejudice to the right, upon good cause shown within sixty (60) days, to

reopen the action if settlement is not consummated.

       IT IS FURTHER ORDERED that the parties be directed to file an appropriate

judgment of dismissal as soon as the settlement documents are executed. If no motion is

filed to reopen, the case is officially closed and the Clerk of Court shall be relieved from

the responsibility of sending out further notice in this matter.

       THUS DONE AND SIGNED in Chambers this 23rd day of May, 2022.




                                           ______________________________________
                                           HON. JAMES D. CAIN, JR.
                                           UNITED STATES DISTRICT JUDGE
